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UNITED vSTATES DISTRICT COURT D
Dlstrlct of COLUMBIA NANe
` v u.s. ms mm 7101 goetz g¥. cLERK
K@n l<,gv>y c… q \/\/\ ls 6 h APPLIcATIoN To PRocEED
Plainciff WITHOUT PREPAYMENT OF
V FEES AND AFFIDAVIT
M l€)»J[’/€/ ) H@:¥O;@V\ /:DY Y'QHDV` cAsE NUMBBlc ’:.‘8 0909
Defen ant 2
I, K€)Q e<@n \!C[H`[;l \/\jl` 1 531/7 declare that I am the (check appropriate box)

 

|Ylpetitioner/plaintifmeovant/respondent El other

in the above-entitled proceeding; that in support of my request to proceed without prepayment of fees or costs
under 28 USC §1915 I declare that I am unable to pay the costs of these proceedings and that I am entitled to the

relief sought in the complaint/petition/motion.
In support of this application, I answer the following questions under penalty of perjury:

1. Are you currently incarcerated? W{Yes El No (If “No,” go to Part 2)

If “Yes,” state the place of your incarceration
Are you employed at the institution? Do you receive any payment from the institution?
Attach a ledger sheet from the institution(s) of your incarceration showing at least the past six months’
transactions

2. Are you currently employed? E| Yes Ci{No

a. It` the answer is “Yes,” state the amount of your take-home salary or wages and pay period and give the
name and address of your employer. (List both gross and net salary.) ~

 

b. If the answer is “No,” state the date of your last employment, the amount of your take~home salary or wages
and pay period and the name and address of your last employer. HGS

3. In the past 12 twelve months have you received any money from any of the following sources?

a. Business, profession or other self-employment E| Yes M/No
b. Rent payments, interest or dividends El Yes U{No
c. Pensions, annuities or life insurance payments El> Yes No
d. Disability or workers compensation payments El Yes gNo
e. Gifts or inheritances El Yes MNO
f. Any other sources R E C E I v E D El Yes No

If the answer to any of the above`lAYYle§,”ZU&ribe, on the following page, each source of money and state the

amount received and what Xoélrexpf:gt Wgtvrvii<ll gcr)]%tinue to receive
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4. Do you have any cash or checking or savings accounts? C] Yes |I/No

If` “Yes,” state the total amount

 

5. Do you own any real estate, stocks, bondsE,{securities, other financial instruments, automobiles or any other
thing of value? El Yes No

-` ="If “Yes,” describe the property and state its value.

the persons who are dependent on you for support, state your relationship to each person and indicate

6. "'l[';i'st
` how much you contribute to their support (If` children are dependents, please refer to them by their initials)

ij .,__}\/ /A

declare under penalty of perjury that the above information is true and correct.

 

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0 Signature of Applicant

'OTICE TO PRISONER: A Prisoner seeking to proceed without prepayment of fees shall submit an affidavit stating all assets. In addition,
prisoner must attach a statement certified by the appropriate institutional officer showing all receipts, expenditures, and balances during
e last six months in your institutional accounts. If you have multiple accounts, perhaps because you have been in multiple institutions, attach

le certified statement of each account

ORDER OF THE COURT

'I`he application is hereby granted. Let the applicant proceed without
prepayment of costs or fees or the necessity of giving security thereof

 

he application is hereby denied.

 

United States Judge Date United States Judge Date

 

 

 

